            Case 2:20-cv-00312-SMJ                  ECF No. 24           filed 08/16/21    PageID.107 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                  for the_                                          FILED IN THE
                                                                                                                U.S. DISTRICT COURT
                                                     Eastern District of Washington                       EASTERN DISTRICT OF WASHINGTON


                   LADARRELLE DIXON,
                                                                                                              Aug 16, 2021
                                                                     )                                         SEAN F. MCAVOY, CLERK
                             Plaintiff                               )
                                v.                                   )        Civil Action No. 2:20-cv-00312-SMJ
                                                                     )
    ECONOMY INN, Cooperate [sic] Headquarters;
  ECONOMY INN; and BRUNSWICK POLICE DEPT.,                           )

                            Defendant

                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                                                                                         recover from the
defendant (name)                                                                                                  the amount of
                                                                            dollars ($               ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of             % per annum, along with costs.

’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: Plaintiff’s Second Amended Complaint (ECF No. 22) is DISMISSED WITH PREJUDICE.
’
              Judgment of Dismissal is entered.
              The Court certifies pursuant to 28 U.S.C. § 1915(a)(3) that any appeal of this Order could not be taken in good faith and
              would lack any arguable basis in law or fact.


This action was (check one):
’ tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

’ tried by Judge                                                                          without a jury and the above decision
was reached.

✔
’ decided by Judge             SALVADOR MENDOZA, JR.                                            .




Date: 08/16/2021                                                             CLERK OF COURT

                                                                             SEAN F. McAVOY

                                                                             s/ Allison Yates
                                                                                          (By) Deputy Clerk

                                                                             Allison Yates
